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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                                     CASE NO.: 1:21-CR-00579 (DLF)

       Plaintiff,
v.

BRANDON STRAKA,

      Defendant.
_____________________________/

                           DECLARATION OF BILAL A. ESSAYLI

I, Bilal A. Essayli, declare as follows:

       1.       I am an attorney licensed to practice in the State of California. Pursuant to Local

Criminal Rule 44.1(d), I make this declaration in support of the Motion Pro Hac Vice filed in the

instant case.

       2.       My office address and telephone number are as follows:

                ESSAYLI & BROWN LLP
                18191 Von Karman Ave.
                Suite 100
                Irvine, California 92612
                (949) 508-2980

       3.       I am admitted to the following courts and bars:

                Supreme Court of California
                United States District Court for the Central District of California
                United States Court of Appeals for the Ninth Circuit

       4.       I am a member in good standing and eligible to practice in all courts to which I am

admitted. I have never been disciplined by any bar.

       5.       I have not been admitted for admission pro hac vice to the Court within the past

two years.
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      6.     I do not engage in the practice of law from an office located within the District of

Columbia.


      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

      Dated this 14th day of January, 2022.


                                                   /s/ Bilal A. Essayli
                                                   Bilal A. Essayli
                                                   ESSAYLI & BROWN LLP
                                                   18191 Von Karman Ave.
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                                                   Irvine, California 92612
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                                                   Counsel to Defendant Brandon J. Straka
